                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR07-4011-MWB
 vs.                                              ORDER REGARDING
                                             MAGISTRATE’S REPORT AND
 KEVIN J. McMULLIN,                               RECOMMENDATION
                                              CONCERNING DEFENDANT’S
               Defendant.                        MOTIONS TO DISMISS
                                ____________________


                                 I. INTRODUCTION
                              A. Procedural Background
        In an indictment returned on February 23, 2007, defendant Kevin J. McMullin is
charged with conspiracy to manufacture and distribute 50 grams or more of pure
methamphetamine, to distribute pseudoephedrine knowing and having reasonable cause
to believe that the pseudoephedrine would be used to manufacture methamphetamine, to
possess pseudoephedrine with intent to manufacture methamphetamine, and to possess
pseudoephedrine knowing and having reasonable cause to believe that the pseudoephedrine
would be used to manufacture methamphetamine, after having previously being convicted
of a felony drug offense, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(c)(1),
841(c)(2), 846, and 851, manufacturing and attempting to manufacture 50 grams or more
of pure methamphetamine, after having previously been convicted of a felony drug
offense, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 846, and 851, possessing
pseudoephedrine with intent to manufacture methamphetamine, in violation of 21 U.S.C.
§ 841(c)(1), and possessing pseudoephedrine knowing and having reasonable cause to



       Case 5:07-cr-04011-LTS-KEM     Document 58      Filed 09/18/07    Page 1 of 9
believe that the pseudoephedrine would be used to manufacture methamphetamine, in
violation of 21 U.S.C. § 841(c)(2).
      On August 1, 2007, defendant McMullin filed two motions to dismiss. In one of
his motions, defendant McMullin contends that the indictment should be dismissed for
prejudicial pre-indictment delay (“motion to dismiss for pre-indictment delay”). In his
other motion, defendant McMullin seeks dismissal of Count Four of the indictment on the
basis that Counts Three and Four are duplicative, thereby constituting a double jeopardy
violation (“motion to dismiss Count Four”). The government filed timely resistances to
each of defendant McMullin’s motions.
      Defendant McMullin’s motions to dismiss were referred to Chief United States
Magistrate Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). On August 28, 2007,
Judge Zoss filed a Report and Recommendation in which he recommends that defendant
McMullin’s motions to dismiss both be denied. With respect to defendant McMullin’s
motion to dismiss for pre-indictment delay, Judge Zoss concluded that defendant McMullin
had failed to meet his burden of proof to show that the delay resulted in actual and
substantial prejudice to the presentation of his defense, and that the government
intentionally delayed his indictment either to gain a tactical advantage or to harass him.
With respect to defendant McMullin’s motion to dismiss Count Four, Judge Zoss
concluded that possession of a listed chemical under subsection 841(c)(2) is a lesser
included offense of possession of a listed chemical under subsection 841(c)(1). However,
Judge Zoss further noted that this conclusion did not mandate dismissal of Count Four
because the government may introduce evidence at trial that the pseudoephedrine possessed
by defendant McMullin was purchased at two distinct times with two distinct intents.
Accordingly, because the government may introduce evidence supporting both counts at
trial, Judge Zoss recommended that defendant McMullin’s motion to dismiss Count Four

                                            2


    Case 5:07-cr-04011-LTS-KEM         Document 58      Filed 09/18/07    Page 2 of 9
should be denied at this stage of the proceedings, without prejudice to its renewal, if
appropriate, at the close of the evidence at trial.
       Defendant McMullin has filed objections to Judge Zoss’s Report and
Recommendation with respect to his motion to dismiss the indictment. No party has filed
any objections with respect to defendant McMullin’s motion to dismiss Count Four of the
indictment. The court, therefore, undertakes the necessary review of Judge Zoss’s
recommended disposition of defendant McMullin’s motions to dismiss.


                                 B. Factual Background
       In his Report and Recommendation, Judge Zoss made the following findings of fact:
              The drug-related conduct underlying the charges against
              McMullin occurred between January 19 and June 7, 2002.
              The Indictment was handed down by the grand jury on
              February 23, 2007.         In the interim, counsel for the
              Government had several discussions with law enforcement
              officers concerning when, if at all, a federal prosecution would
              be initiated against McMullin. McMullin cites reports in the
              Government’s discovery file indicating those types of
              discussions took place on April 3, July 1, and November 12,
              2003; and January 23, 2004. According to McMullin, each of
              those reports indicates the Assistant United States Attorney
              told officers the matter would be prosecuted, and he was in the
              process of preparing a cooperation plea agreement for
              McMullin’s codefendant, Timothy Wilson. McMullin states
              the January 2004 report also indicates the Assistant United
              States Attorney was interested in contacting McMullin’s
              attorney to discuss the possibility of pre-indictment cooperation
              by McMullin. (See Doc. No. 33-1, ¶¶ 3-6) McMullin
              alleges, and the court will accept as true for purposes of his
              motion, that no attorney had been appointed to represent him
              pre-indictment, and apparently no contact occurred between


                                              3


    Case 5:07-cr-04011-LTS-KEM          Document 58      Filed 09/18/07     Page 3 of 9
             the Government and McMullin, or any attorney on his behalf,
             prior to the date of the Indictment.
Report and Recommendation at pp. 1-2. Upon review of the record, the court adopts all
of Judge Zoss’s factual findings.


                                II. LEGAL ANALYSIS
                                A. Standard Of Review
      Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      The Eighth Circuit Court of Appeals has repeatedly held that it is reversible error
for the district court to fail to conduct a de novo review of a magistrate judge’s report
where such review is required. See, e.g., Hosna v. Groose, 80 F.3d 298, 306 (8th Cir.)

                                           4


    Case 5:07-cr-04011-LTS-KEM        Document 58      Filed 09/18/07    Page 4 of 9
(citing 28 U.S.C. § 636(b)(1)), cert. denied, 519 U.S. 860 (1996); Grinder v. Gammon,
73 F.3d 793, 795 (8th Cir. 1996) (citing Belk v. Purkett, 15 F.3d 803, 815 (8th Cir.
1994)); Hudson v. Gammon, 46 F.3d 785, 786 (8th Cir. 1995) (also citing Belk). As noted
above, defendant McMullin has filed objections to that portion of Judge Zoss’s Report and
Recommendation concerning his motion to dismiss for pre-indictment delay. The court,
therefore, undertakes the necessary review of Judge Zoss’s recommended disposition of
defendant McMullin’s motions to dismiss.


                           B. Motion To Dismiss Count Four
       As the court noted above, no party has filed an objection to that part of Judge Zoss’s
Report and Recommendation concerning defendant McMullin’s motion to dismiss Count
Four of the indictment, and it appears to the court upon review of Judge Zoss’s findings
and conclusions, that there is no ground to reject or modify them. Therefore, the court
accepts that portion of Judge Zoss’s Report and Recommendation and orders that
defendant McMullin’s motion to dismiss Count Four of the indictment is denied without
prejudice to its renewal at the close of the evidence at trial.


                    C. Motion To Dismiss For Pre-Indictment Delay
       1.     Evidentiary hearing
       Defendant McMullin initially objects that an evidentiary hearing was not held. The
court notes that while Judge Zoss did not conduct an evidentiary hearing concerning
defendant McMullin’s motion to dismiss the indictment, Judge Zoss noted that the facts
underlying this motion were undisputed. Report and Recommendation at 1. Moreover,
Judge Zoss accepted defendant McMullin’s allegations concerning the lack of the
appointment of counsel pre-indictment as true for the purposes of his motion. Report and

                                             5


    Case 5:07-cr-04011-LTS-KEM          Document 58      Filed 09/18/07     Page 5 of 9
Recommendation at 2. Finally, the court notes that defendant McMullin has not indicated
what additional putative facts he would have proven if an evidentiary hearing had been
held. An evidentiary hearing on a motion need be held only when the moving papers
allege facts with sufficient definiteness, clarity, and specificity to enable the court to
conclude that contested issues of fact exist. See United States v. Mims, 812 F.2d 1068,
1073-74 (8th Cir.1987) (holding that “[w]hen a motion to suppress is filed, ‘[e]videntiary
hearings need not be set as a matter of course, but if the moving papers are sufficiently
definite, specific, detailed, and nonconjectural to enable the court to conclude that
contested issues of fact going to the validity of the search are in question, an evidentiary
hearing is required.’”) (internal citations and quotations omitted)). Here, where defendant
McMullin has not demonstrated the existence of disputed issues of fact warranting an
evidentiary hearing, the court concludes that Judge Zoss did not abuse his discretion in
refusing to hold an evidentiary hearing. See United States v. Harris, 914 F.2d 927, 933
(7th Cir. 1990) (“A hearing will not be held on a defendant's pre-trial motion to suppress
merely because a defendant wants one. Rather, the defendant must demonstrate that a
‘significant disputed factual issue’ exists such that a hearing is required.”) (citation
omitted). Accordingly, the court overrules this objection to Judge Zoss’s Report and
Recommendation.
       2.     Merits of motion
       Defendant McMullin also objects to Judge Zoss’s conclusion that defendant
McMullin failed to meet his burden of proof to show that the pre-indictment delay resulted
in actual and substantial prejudice to the presentation of his defense, and that the
government intentionally delayed his indictment either to gain a tactical advantage or to
harass him.



                                             6


    Case 5:07-cr-04011-LTS-KEM         Document 58       Filed 09/18/07    Page 6 of 9
       Although the Due Process Clause of the United States Constitution affords
protection against prejudicial pre-indictment delay, the statute of limitations provides the
"primary guarantee against bringing overly stale criminal charges." United States v.
Marion, 404 U.S. 307, 324 (1971); United States v. Jackson, 446 F.3d 847, 849 (8th Cir.
2006); United States v. Brockman, 183 F.3d 891, 895 (8th Cir. 1999); United States v.
Bartlett, 794 F.2d 1285, 1289 (8th Cir.), cert. denied, 479 U.S. 934 (1986). To establish
a due process claim, a defendant bears the heavy, preliminary burden of demonstrating
that: “‘(1) the delay resulted in actual and substantial prejudice to the presentation of the
defense; and (2) the government intentionally delayed his indictment either to gain a
tactical advantage or to harass him.’” United States v. Haskell, 468 F.3d 1064, 1070 (8th
Cir. 2006) (quoting United States v. Sturdy, 207 F.3d 448, 452 (8th Cir. 2000)); accord
United States v. Gladney, 474 F.3d 1027, 1030 (8th Cir. 2007); Jackson, 446 F.3d at 849;
United States v. Grap, 368 F.3d 824, 829 (8th Cir. 2004); see also Brockman, 183 F.3d
at 895; United States v. Edwards, 159 F.3d 1117, 1128 (8th Cir. 1998), cert. denied, 120
S. Ct. 310 (1999); United States v. Benshop, 138 F.3d 1229, 1234 (8th Cir. 1998); United
States v. McDougal, 133 F.3d 1110, 1113 (8th Cir. 1998); Bennett v. Lockhart, 39 F.3d
848, 851 (8th Cir. 1994), cert. denied, 514 U.S. 1018 (1995); United States v. Johnson,
28 F.3d 1487, 1492 (8th Cir. 1994), cert. denied, 513 U.S. 1098 (1995); United States v.
Miller, 20 F.3d 926, 931 (8th Cir.), cert. denied, 513 U.S. 886 (1994); Bartlett, 794 F.2d
at 1289. As the Eighth Circuit Court of Appeals has observed:
              To prove actual prejudice, [a defendant] must specifically
              identify witnesses or documents lost during the delay properly
              attributable to the government, relate the substance of the
              testimony which would be offered by the missing witnesses or
              the information contained in lost documents in sufficient detail
              to permit a court to assess accurately whether the information
              was material to his defense, and show that the missing

                                             7


    Case 5:07-cr-04011-LTS-KEM          Document 58      Filed 09/18/07     Page 7 of 9
              testimony or other evidence is not available from alternate
              sources.
United States v. Al-Muqsit, 191 F.3d 928, 9380 (8th Cir. 1999), cert. denied, 528 U.S.
1029 (1999), vacated in part on other grounds, United States v. Logan, 210 F.3d 820 (8th
Cir. 2000) (en banc); accord Jackson, 446 F.3d at 851; Bennett, 39 F.3d at 851; Bartlett,
794 F.2d at 1289-90. It is only after that threshold showing of actual prejudice has been
made that a court must inquire into the reasons for delay. See Gladney, 474 F.3d at 1030-
31; United States v. Sturdy, 207 F.3d 448, 452 (8th Cir. 2000); Brockman, 183 F.3d at
895; Benshop, 138 F.3d at 1234; United States v. Savage, 863 F.2d 595, 598 (8th Cir.
1988), cert. denied, 490 U.S. 1082 (1989).
       The allegations of prejudice must be specific, concrete and supported by the
evidence—vague, speculative or conclusory allegations will not suffice. See Gladney, 474
F.3d at 1031; Jackson, 446 F.3d at 851; Brockman, 183 F.3d at 895.               Defendant
McMullin’s offering falls far short of that standard. Rather, defendant McMullin only
speculates that if the charges had been brought at an earlier date, he could have cooperated
with the government for the purposes of obtaining a reduction in sentence for substantial
assistance given to the government. Defendant McMullin has provided the court with only
vague and speculative assertions regarding the possibility of such a reduction in sentence.
Indeed, defendant McMullin does not identify what assistance he could have provided the
government with respect to any specific prosecution. Moreover, to the extent that
defendant McMullin wished to be a cooperating witness, he was at all times free to contact
the government and negotiate a compatible cooperation agreement with the government.
Thus, the court concludes that defendant McMullin’s allegations of prejudice resulting
from the delay in bringing charges against him are simply too speculative to demonstrate
actual prejudice. Accordingly, the court concludes that defendant McMullin has failed to


                                             8


    Case 5:07-cr-04011-LTS-KEM         Document 58       Filed 09/18/07    Page 8 of 9
establish actual and substantial prejudice based on pre-indictment delay. Therefore, this
objection is also overruled.


                                 III. CONCLUSION
      Therefore, for the reasons set forth above, the court, upon a de novo review of the
record, accepts Judge Zoss’s Report and Recommendation and denies without prejudice
to its renewal at the close of the evidence defendant McMullin’s motion to dismiss Count
Four of the indictment. The court also denies defendant McMullin’s motion to dismiss for
pre-indictment delay.
      IT IS SO ORDERED.
      DATED this 18th day of September, 2007.


                                               __________________________________
                                               MARK W. BENNETT
                                               U. S. DISTRICT COURT JUDGE
                                               NORTHERN DISTRICT OF IOWA




                                           9


    Case 5:07-cr-04011-LTS-KEM        Document 58      Filed 09/18/07   Page 9 of 9
